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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 JACQUELINE MARIE WALKER,

   Plaintiff,                                         Case No. 1:17-cv-02203

 v.                                                   Honorable Judge Robert M. Dow, Jr.

 VERDE ENERGY USA, INC. d/b/a
 VERDE ENERGY USA ILLINOIS, LLC

   Defendant.

                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

         NOW COMES the Plaintiff, JACQUELINE MARIE WALKER, by and through her

attorneys, SULAIMAN LAW GROUP, LTD., and, in support of her Notice of Voluntary

Dismissal with Prejudice, state as follows:

         Plaintiff, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), hereby voluntarily

dismisses her claims against the Defendant, VERDE ENERGY USA, INC. d/b/a VERDE

ENERGY USA ILLINOIS, LLC ., with prejudice. Each party shall bear its own costs and attorney

fees.

Dated: May 18, 2017

                                                            Respectfully Submitted,

                                                            /s/ Nathan C. Volheim
                                                            Nathan C. Volheim
                                                            Counsel for Plaintiff
                                                            Sulaiman Law Group, Ltd.
                                                            900 Jorie Blvd, Ste 150
                                                            Oak Brook, IL 60523
                                                            Phone (630)575-8181
                                                            Fax: (630)575-8188
                                                            nvolheim@sulaimanlaw.com
